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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



  In re:                                                  PROMESA
                                                          Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO                             Case No. 17-03283 (LTS)
  RICO,
                                                          (Jointly Administered)
           as representative of

  THE COMMONWEALTH OF PUERTO
  RICO, et al.,

                           Debtors.1


          CONTINUED EXHIBITS OF AMBAC ASSURANCE CORPORATION,
       ASSURED GAURANTY CORP., ASSURED GUARANTY MUNICIPAL CORP.,
          FINANCIAL GUARANTY INSURANCE COMPANY, AND NATIONAL
                 PUBLIC FINANCE GUARANTEE CORPORATION




  1
    The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last
  four (4) digits of each Debtor’s Federal tax identification number, as applicable, are the (i) Commonwealth
  of Puerto Rico (“Commonwealth”) (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal
  Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17
  BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
  Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
  (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
  (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico
  Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 04780-LTS) (Last Four Digits of
  Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No.
  19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
  Bankruptcy Case numbers due to software limitations).
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